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         Instructions for Parents Regarding Opt-Out to
                     Sex Education




   ● Fill out two copies for each student
   ● Keep one copy for each student for your records and turn
       the other copy into the school your student attends
   ● Have school staff member sign and date the bottom of both
       the school and your copy
   ● Have Opt-Out Form placed in student’s file




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   MICHIGAN PARENTAL SEX EDUCATION OPT-OUT FORM
           FOR THE _________ SCHOOL YEAR

I,                                                      , hereby exercise my rights as the
parent/legal guardian to opt out my student                                        ,
enrolled at                                                                          from
the following curriculum or educational aids or both curriculum and educational aids in
the checked sections and subsequent subsections:


o Sex Education Advisory Board (SEAB) Compliant class or classes

   ●   Any and all class or classes, instruction, lessons, or teaching recommended by the
       SEAB and approved by the district board of education.


o OTHER Sex Education Not Approved by the district Board of Education and
  not in compliance with the SEAB class(es)

   ●   Family planning drugs or devices including but not limited to:
                  ▪ Oral contraceptives;
                  ▪    Plan B;
                  ▪    Condoms
                  ▪    IUD’s;
                  ▪    Abortion (medications or procedures);
                  ▪    References to abortion clinics or apps that will help them find an abortion
                       clinic or guide them through self-managed abortion.


   ●   Human sexuality: Any and all instruction on gender ideology, the physiological (including
       endocrinological), psychological, and functions of reproductive health as it relates to
       human sexuality. This opt out includes, but is not limited to: gender identity, gender
       expression, gender assignment, sexual identities, sexual expression, sexual attraction,
       sexual orientation, gender fluidity, transitioning, and explicit sexual activity or behavior.
       Therefore I/we opt out of:
                  ▪    Teaching, discussion, or lessons with explicit heterosexual sexual acts,
                       fantasies, self-pleasure, or self-exploration;



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                 ▪     Teaching, discussion, or lessons on Reproductive Health;
                 ▪     Teaching, discussion, or lessons on Sexually Transmitted Diseases;
                 ▪     Teaching, discussion, lessons, or events on Abortion;
                 ▪     Teaching, discussion, or lessons where pronouns are defined different
                       than biology, or using his/her alternate pronouns as a meaning of
                       redefining gender apart from biology;
                 ▪     Use of pronouns for my student that does not match the student’s
                       biological sex as listed in the enrollment documents;
                 ▪     Teaching, lessons, or discussions about transsexual healthcare, including
                       hormone blockers, enhancers, and gender modification surgeries;
                 ▪     Teachers, staff, or administrators, displaying or distributing
                       sexuality/gender paraphernalia like LGBTQ+ flags, trans flags, or gay
                       pride stickers;
                 ▪     Teachers, staff, or administrators displaying or distributing the gender
                       bread person, gender unicorn, gender snowperson, or a similar gender
                       teaching metaphor;
                 ▪     Exposure to books in elementary classroom libraries with storylines about
                       young children transitioning, changing their identity, questioning their
                       gender, participating in or witnessing explicit sexual activity;
                 ▪     Teaching, lessons, or discussions of any of the family planning or
                       sexuality topics listed in this document utilizing the morning
                       announcements by school staff, students or any outside organization or
                       affiliate;
                 ▪     Teaching, lessons, or discussions in gender/sexuality social justice or
                       gender/sexuality activism;
                 ▪     Given access to, instructions, discussion, or invitations to, a gender
                       affirmation closet;
                 ▪     Teaching, lessons, or discussion encouraging students to participate in,
                       accept, or understand cross-dressing or transsexual behavior;
                 ▪     Use, instruction, discussion, or teaching of gender neutral bathrooms or
                       gender neutral locker rooms or any bathroom or locker room where
                       persons of the opposite, physical, sex are permitted;




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                 ▪     Teaching, lessons, planning, or discussions concerning a student in the
                       creation, modification, or management of a gender support plan;
                 ▪     Reading assignments or access to books containing any sexuality or
                       family planning themes listed in this document;
                 ▪     DEI or SEL sessions, teaching, discussions, or lessons that introduce
                       trans and non-binary genders as protected classes of people;
                 ▪     Teaching, lessons, or discussions in the form of advertising or promotion
                       for after school programs that discuss or teach gender
                       identity/expression, sexual identity, sexual orientation, or any of the items
                       included in this document;
                 ▪     All surveys, polls, or questionnaires that contain questions about any of
                       the subjects listed in this document or aspects of the student’s family life;
                 ▪     Reading selections or assignments that condone the violation of the laws
                       of this state pertaining to sexual activity;
                 ▪     Displaying, directing to, or informing students of sex education websites
                       or apps that allow students access to sex education information that is for
                       all ages not just information that is age appropriate for them.
                 ▪     Access to books/materials in the classroom libraries with references to
                       non-biological gender identities or storylines containing any type of non-
                       heterosexual relationships, and/or explicit sexual activities of any kind;
                 ▪     School wide activities that teach, discuss, or promote concepts about
                       gender or sexual identities, gender or sexual expression, or other gender
                       concepts such as LGBTQ+ Pride Week or Transsexual Week; and
                 ▪     School-provided or referred onsite or offsite counseling relating to
                       reproductive health which is defined as “that state of an individual’s well-
                       being which involves the reproductive system and its physiological,
                       psychological, and endocrinological functions” - this would include
                       gender transitioning.



Given that all curriculum or educational aids or both relating to sex education, family
planning, human sexuality, and the emotional, physical, psychological, hygienic,
economic, and social aspects of family life, is subject to Michigan laws that require
transparency and prior notice to parents/legal guardians, I expect to receive notices



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about all future situations in which sex education is going to be approached with my
student(s).

Finally, if a teacher, administrator, or faculty member witnesses my student engaged in
any of the above opt-out activities, then the school is responsible to contact me
immediately.


Parent and/or Legal Guardian                    Date
Printed Name


Parent and/or Legal Guardian                    Date
Printed Name


Received by :                              Date :




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                                                                               Exhibit 1
